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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

CIVIL CASE # 1:16-CR-0031WJM FILED
UNITED STATES DISTRICT COURT
DENVER, COLORADO
UNITED STATES OF AMERICA APR 23 2021
Vv JEFFREY P. COLWELL
CLERK

WILLIAM SEARS

 

RESPONSE IN SUPPORT FOR MOTION TO SET ASIDE / EVIDENCIARY HEARING.
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This entire debacle began with an organized scheme to defraud the FBI, DOJ, The Federal Court system and the American tax
payer.

Kate (Egan) Funk has been successfully defrauding all of the above fro some 12 years now. This is all clearly laid out in the
Kate Funk section of this filing. In that section | have show the following:

She lied about her year of graduation

She lied about her degree type

She lied about being a certified public accountant
She lied about her residence for 10 years

She lied about her employer for 10 years

Its safe to say Kate (Egan) Funk is an absolute fraud! She told all these lies to gain employment with the FBI. Her husband T
Markus Funk was still a very famous prosecutor at the inception of this scheme. She lied about her credentials to gain favor
over other more qualified applicants. Firstly one asks how does a farm girl pull this off? I'm sure having a husband that works for
the DOJ would help in navigating the hiring and vetting process.

The background check for this is 10 years prior. That's why all the dates and credentials that don't correspond. Facts are
Kansas University does not even offer an accounting degree nor did she become a certified public accountant in 1996. Or ever
for that matter as | have clearly shown & proven. She got past the FBI and entered the academy under her maiden name. Yes
she was married to T. Markus Funk during her academy training, thus breaking more federal laws by doing so at that point
whets one more as much like today who is going to prosecute the wife of the now famous T. Markus Funk. '

Claiming this false and fraudulent degree gave her 1. more base pay, 2. Less academy training time, 3. more importantly the
choice of the city of her assignment. Just as she graduates, T. Markus leaves the prosecutors office for a partnership with
Perkins Coie in Denver, Colorado. She picks Denver also as her city of assignment, no coincidences there.

By 2014, Kate Funk, with her fake credentials has been defrauding the FBI, DOJ, SEC, The Federal Courts, Judges and the
American tax payer paying for it all. Kate has barely 4 years with the FBI, factor in academy training time, maternity leave as
she was blessed with twins. How much real time on the job to call experience could one really say.

Certainly NOT to state "thru my knowledge and experience" as she does 47 times in her perjured and fraudulent affidavit. | say
perjured because she lies about her credentials to influence a judge in May of 2014 to gain a search warrant. This, as in her
fraudulent job application with the FBI to say she had an accounting degree and was a certified public accountant.

| say fraudulent affidavit as no one has ever seen the originals! They ran so afoul of her/assumptions, the government dared not
register them as required by law. | say fraudulent also as in the exhibits you will notice 2 different first pages to the same
affidavit for the same premises for the same day. Seems the prosecution and Kate Funk lost track of which one went to which
defendants lawyer. You really have to have had to royally screwed up to sink to that level.

So to leave no stone unturned | have highlighted the sections of the fraudulent affidavit where as she was acting in the capacity
of a certified public accountant. \

In addition, back in 2016 Mr. Scott Dittman, CEO of Fusion Pharm under went a forensic audit. The auditor was a former IRS -
CID forensic auditor. He worked for and testified as an expert for the government for over 20 years. | don't have the draft copy
however | have some of his notes from his review.

To sum it up, Kate Funk was not, is not and has no concept of proper certified public accounting, Nor of the public markets.
The woman is a fraud and should be brought to justice before she ruins more lives.

if this affidavit was show to me, event this fraudulent replacement as it is, | could have easily seen this was all a mistake.
Instead, the real affidavit has never seen the light of day, it was never registered with the courts and was lied about to say it was
sealed, lied about its contents to manipulate and coerce a plea.
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Kate Funk lied to get her job some 12 years ago, she lied to judge Schaffer to get the search warrants in 2014, she and the
prosecutor lied about the status of the warrants affidavit, lied about its contents to force a plea. They all continue to lie to you
and the court'to justify or substantiate defrauding of the FBI, DOJ, Courts and the tax payer.

Facts are Kate Funk sold a story to Ken Harmon of a public company putting drug money on the books as revenue. This | have
shown in her affidavit (the one we were given) keeping in mind it is a falsified document. The government can not dispute this
claim as no one has ever seen the originals. One has to ask why were they not registered with the court as required? Answer is
they were illegal! There is no way to verify that the affidavit is the actual one shown to the Judge Schaffer. So we're to take a
document with "2" different first pages as authentic and prosecute or defend from a document that no one knows if it was real at
the time in question?

This was, is and always will be an investigation that has built on an organized scheme to defraud by agent Funk. Not just on the
‘FBI, the Courts, the SEC and the tax payer, it was one coupled with the withholding of exculpatory and material evidence all
favorable to me. This was to cause stress, duress, mental and physical exhaustion to both me and my family. | have given an
example of agent Funks abusive tactics to induce duress and threaten my wife in the exhibit section. '

If these things would have been properly disclosed and not withheld. The government knew then as they know now if this goes
into a court room, the conviction gets set aside. Crimes were committed to investigate an alleged crime. "Fruit of the poisonous
tree" which included the purge red affidavit (the one they gave us?). A Franks hearing would have settled that mess.

Again all this to be discovered by me after a plea was forced on me. My lawyers at the time were all too content taking mere
words of a prosecutor and agent as fact.

This started as a securities investigation, here are the qualifications to perform such:

"Qualifications to perform a securities fraud financial investigation" - This investigation requires that the regulations of the
Commission apply as this was a referral and a parallel investigation. It fully relied on the financial investigation by Special Agent —
Kate Funk who failed to meet the requirements of practice to transact business with the Commission. As such, the commission
failed to insure the qualifications of the person they provided confidential financial information regarding Mr. Sears including his
personal, business and trading accounts which is in violation of the Commissions own regulatory requirements. The defendant
calls the courts attention to the following:

17 CFR 201.102 - Appearance and practice before the Commission

(f) Practice defined. For the purposes of these Rules of Practice, practicing before the Commission shall include, but shall not
be limited to:

(1) Transacting any business with the Commission; and

(2) Thé preparation of any statement, opinion or other paper by any attorney, accountant, engineer or other professional or
expert, filed with the attorney, accountant, engineer or other professional or expert, filed with the Commission in any registration
statement, notification, application, report or other document with the consent of such attorney, accountant, engineer or other
professional or expert.

17 CFR 210.2-01 Qualifications of accountants -

(a) The Commission will not recognize any person as a certified public accountant who is not duly registered and in good
standing as such under the laws of the place of his residence or principal office. The Commission will not recognize any person
as a public accountant who is not in good standing and entitled to practice as such under the laws of the place of his residence
or principal office. *

Under the definitions section this show that the definitions of this section apply to licensing requirements under the following;

17 CFR 201.101 - Definitions.

(4) Enforcement proceeding means an action, initiated by an order instituting proceedings held for the purpose of determining
whether or not a person is about to violate, has violated has caused a violation of, or has aided or abetted a violation of any -
statute or rule administered by the Commission, or whether to impose a sanction as defined in Section 551(10) of the
Administrative Procedures Act, 5 U.S.C. 551(10);

Under the Administrative Procedures Act 5 U.S. Code 551. Definitions as it relates to this investigation and licensing it applies

by. definition to
For the purpose of this subchapter -

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(1) "Agency" means each authority of the Government of the United States, whether or not it is within or subject to review by
another agency, but does not include - ‘

(A) the Congress;

(B) the courts of the United States;

(C) the governments of the territories or possessions of the United States;

(D) the government of the District of Columbia

And it applies to any agency that holds the power over a person's freedom which is show in the Administrative Procedures Act 5
U.S. Code 551(10)

(10) "sanction" includes the whole or part of an agency -

(A) prohibition, requirement, limitation or other condition affecting the freedom of a person;

(B) withholding of relief >

(C) imposition of penalty or fine; :

(D) destruction, taking, seizure or withholding of property;

(E) assessment of damages, reimbursement, restitution, compensation, costs, charges or fees;

(F) requirement, revocation or suspension of a license; or

(G) taking other compulsory or restrictive action;

Under the code of federal regulations contained in 17 CFR Part 210 which is used to define an accountant's report

210.1-02(a)(1) Accountant's report. The term accountant's report is "used in regard to financial statements, means a document
in which an independent public or certified public accountant indicates the scope of the audit (or examination) which he has
made and sets forth his opinion regarding the financial statements taken as a who le, or an assertion to the effect that an overall
opinion cannot be expressed. When an overall opinion cannot be express, the reasons therefore shall be stated."

impermissible government conducting unqualified investigator - The defendant has discovered impermissible misconduct on the
part of Special Agent Kate Funk, who is the sole source of evidence relied on by the courts in rendering its probable cause
determinations in this case. This investigation was the basis for the asset forfeiture that Funk claimed FusionPharm to be a
Ponzi scheme, which was proven not to be the case in Funk's own investigation. The government never disclosed the fact that
Special Agent Funk provided perjured testimony when she attested to the information contained in her sworn affidavits.

In Special Agent Kate Funk's sworn affidavit in support of search warrant dated May 15, 2014, whereby in Paragraph 1 on Page
1, Special Agent Funk stated under oath.

"| became a Certified Public Accountant in 1996 through the state of Kansas"
This is a lie and perjury in Fact!

She then repeats this claim again in the second sworn affidavit in support of a search warrant November 28,2014 in Paragraph
1 on Page 1, Special Agent Funk whereby again, she states under oath,

"| became a Certified Public Accountant in 1996 through the state of Kansas"
This is a lie and perjury in Fact!

It is important to note that nowhere in either of these two documents does Special Agent Funk use the initials CPA behind or
after her last name, as was claimed by AUSA Sibert in his response to the defendant's motion to withdraw his plea previously
filed on April 19, 2019.

After reviewing the Kansas Board of Accountancy website, it was discovered that Kansas does not comply with the
requirements of the Uniform Accountancy Act (UAA), as it requires a two-tiered regulatory standard for the licensing of Certified
Public Accountants, which was basically abolished under the UAA. Prior to the passage of the UAA, most states had the two
tiered regulatory requirements for the licensing of Certified Public Accountants. This required being issued a certificate and a
license in order to meet the regulatory licensing requirements. However, after it was discovered that many holding only a
certificate but did not complete the requirements to be legally licensed WERE FALSELY CLAIMING TO BE CERTIFIED PUBLIC
ACCOUNTANTS. (Sounds all too familiar)
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All the while providing services to individuals, businesses, academia and government and falsely claiming to be licensed when
they were not. It was these violations that led to the passage of the UAA in order to be established.

A Kansas issued certificate is not a license, as it is issued prior to meeting the regulatory standards for licensing. Because it is
not a license and the reason, the Kansas issued certificate is not valid without also obtaining a valid permit (license). This
plainly stated on the Kansas Board of Accountancy website.

A search of the Kansas Board of Accountancy website found no listing for Kate Funk being issued license as a Certified Public
Accountant in Kansas. A wild card attempt was made using the first name Kate and there was a single name that was returned,
Kate Egan. While the information did not match what Funk stated in her sworn affidavit, a public record check verified Egan was
in fact Special Agent Funk's maiden name. It was then learned that Egan aka Funk did not hold the permit required under
Kansas law to claim to be a Certified Public Accountant. as she only held the certificate but not the required license (or permit)
required by regulation to use the professional credentials of Certified Public Accountant. The Kansas issued certificate is not a
standalone license as it is under the standards for the UAA.

The NASBA website Verify PA, is an excellent source of information which explains the Kansas issued certificate is not a
license under the regulatory requirements established for the licensing of Certified Public Accountants. It also addresses the
legal limitations imposed on those who hold only a Kansas issued certificate, a review of the information regarding Kate Egan is
included here.

On April 19, 2019, the same day the defendant's counsel filed the motion to withdraw his plea for various reasons that were not
addressed properly and the reason why it is necessary for Mr. Sears to represent himself here now. It was noticed the same
day of that filing Special Agent Funk changed her name on her Kansas issued certificate. While Funk had not changed her
name legally after she was married in 2009, it seems a bit odd that she would choose that specific day to make that change.
However her name has nothing to do with the legal reason why she is not a Certified Public Accountant, although it does
confirm the fact that Special Agent Funk and Kate Egan were the same person who holds the Kansas issued certificate #8757.
(1) AICPA (https:/Awww.aicpa.org)

(2) NASBA (https://www.nasba.org)

(3) Kansas Board of Accountancy (http:/Awww.ksboa.org/applyCertificate.htm)

MORE FRAUDULENT CLAIMS AND PERJURY.

It was also discovered that Special Agent Funk committed surgery regarding several items contained in Paragraph 1 on Page 1
of her sworn affidavits. According to the Kansas University Alumni Association website, it indicates Egan did not graduate from
Kansas University in 1995 but instead it indicates Egan graduated from Kansas University in 1996. The Alumni Association also
shows Kansas University did not offer a bachelor's degree in Accounting, therefore Egan cannot have a degree in Accounting
as she states. This also means she did not become a certified Public accountant in 1996 as she:states. This also means that
she is not eligible for any exempts for licensing that occurred in Kansas in 1996, as there are no "grandfathered" exceptions
applicable. However, this does however indicate a very disturbing pattern of deceptive pattern of behavior on the part of Special
Agent Funk and calls into question the hiring practices of the FBI and the DOJ which is responsible for supervising the hiring of
the FBI.

| now wish to call attention to the Kansas Laws of Accountancy requires Certified Public Accountants must possess both the
Kansas issued certificate and permit to practice prior to holding out to be a Certified Public Accountant or to practice as such
before the courts, this fact is clearly addressed under the laws governing the licensing of Certified Public Accountants in
Kansas. (KS Stat 1-316(1) (2012))

Special Agent Funk has violated the statutes and regulations governing the licensing and practice of Certified Public
Accountancy in Colorado and every State in the United States, including Kansas by claiming to be a Certified Public Accountant

under oath.

As the Kansas issued certificate is provided prior to the license (permit) is issued this means the Kansas issued certificate holds
absolutely no meaning outside of Kansas nor does it provide the holder the ability to use the professional designation in legal

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proceedings. Doing such provides the false status of being a financial expert which comes with the commitment required to be
a licensed and practicing Certified Public Accountant. This case was handed to the FBI by the SEC. Now let us keep in mind
the SEC's requirements to be recognized as a Certified Public Accountant. |

The Securities and Exchange Commission Federal Regulations under: 17 CFR 210.2-01 - Qualifications of accountants

(a) The commission will not recognize any person as a certified public accountant who is not duly registered and in good
standing as such under the laws of the place of his residence or principal office. The Commission will no recognize any person
as a public accountant who is not in good standing and entitled to practice as such under the laws of the place of his residence
or principal office.

(b) The Commission will not recognize an accountant as independent, with respect to an audit client, if the accountant is not, or
a reasonable investor with knowledge of all relevant facts and circumstances would conclude that the accountant is not capable
of exercising objective and impartial judgment on all issues encompassed within the accountants engagement. In determining
whether an accountants is independent. the Commission will consider all relevant circumstances, including all relationships
between the accountant and the audit client, and not just those relating to reports filed.

A person is a statutory resident of Colorado if the person maintains a permanent place of abode in Colorado and spends, in
aggregate, more than six months in Colorado. For a more complete discussion of domicile and statutory residency. See
Department Regulation 39-22-103(8)(A). ;

As such the laws of Colorado require residents who are licensed by a regulatory agency in another state must apply for .
licensing in Colorado after becoming a resident. As such Special Agent Funk was required to'apply for licensing as a Certified
Public Accountant in 2011 after she became a resident. This is regulated by the Colorado Code of Regulations governing the
licensing and practice of Certified Public Accountants under 3 CCR 705-1 - 1.5 Requirements for Certification - (E) Reciprocity
Requirements states, “An applicant who holds a certificate or license issued by another state based upon passage of the
examination but who does not hold a certificate or license to practice is not eligible for reciprocity through that certificate or
license." As license to practice is not eligible for reciprocity through that certificate or license." As such this means Special Agent
Funk does not meet the requirements to obtain a license by reciprocity in Colorado and as such she cannot legally hold out as
being a Certified Public Accountant in proceedings conducted in the State of Colorado and there is nothing that excludes a
federal agent who resides in Colorado from meeting these legal requirements for licensing and practice within the state.

FORENSIC ACCOUNTING EXPLANATION “

| now wish to introduce the definition and explanation regarding forensic accounting as was found on the Investopedia website
which is operated with permission by the SEC, the explanation of meaning of forensic accounting investigation is explained in
detail below:

What is Forensic Accounting?

Forensic accounting utilizes accounting, auditing and investigative skills to conduct an examination into the finances of an
individual or business. Forensic accounting provides an accounting analysis suitable to be used in legal proceedings. Forensic
accountants are trained to look beyond the numbers and deal with the business reality of a situation. Forensic accounting is
frequently used in fraud and embezzlement cases to explain the nature of financial crime in court.
(https://www.investopedia.com/terms/f/forensicaccounting.asp)

Understanding Forensic Accounting

Forensic accountants analyze, interpret and summarize complex financial and business matters. They may be employed by
insurance companies, banks, police forces, government agencies or public accounting firms. Forensic accountants compile
financial evidence, develop computer applications to manage the information collected and communicate their findings in the
form of reports or presentations. \

Forensic Accounting for Criminal Investigation

Forensic accounting is also used to discover whether a crime occurred and assess the likelihood of criminal intent. Such crimes
may include employee theft, securities fraud, falsification of financial statement information, identify theft or insurance fraud.
Forensic accounting is often brought to bear in complex and high-profile financial crimes. The reason we understand the nature
of Bernie Madoffs Ponzi scheme today is because forensic accountants dissected the scheme and made it understandable for
the court case.

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Defining Financial Forensics

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Financial forensics is a field that combines criminal investigation skills with financial auditing skills to identify criminal financial
activity coming from within or outside of an organization. Financial forensics may be used in prevention, detection and recover
activates to investigate terrorism and other criminal activity, provide oversight to private-sector and government organizations
and assess organizations’ vulnerability to fraudulent activates. In the world of investments, financial forensics experts look for
companies to short or try to win whistleblower awards.

This fact that this was a forensic financial investigation was even admitted to by Special Agent Fun in her swom affidavits on
Page 5 in Paragraph 12, whereby Funk says: "Your affiant thereafter reviewed and has been reviewing the SEC produced
Records on an ongoing basis. Additionally, your affiant was made privy to SEC analyses of the Bank Records, Brokerage
Records and Transfer Agent Records (collectively "SEC Analyses") and has reviewed the same on an ongoing basis."

According to the FBI's own website under the position of Forensic Accountant it states the following: "FOLLOW THE MONEY
TRAILS OF CRIMINAL ACTIVITY AND NATIONAL SECURITY MATTERS" ‘

Because in the affidavit in support of search warrant prepared by Special Agent Kate Funk she referenced auditing standards
accepted by the SEC and the United States of America with her references to violations of GAAP. This means she created a
report and as such this requires she must be a Certified Public Accountant, as she not only claimed a violation of GAAP but she
then attempted to track financial transactions between accounts in order to determine actual company earnings. This requires
the services of a Certified Public Accountant in order to legally attest to those sworn opinions before the court. Under the laws in
Kansas,

"It is unlawful for any person, except the holder of a Kansas permit to practice, to issue a report with regard to any attest or
compilation service under standards adopted by the board. A reference in a report to auditing standards generally accepted in
the United States of America is deemed to be a reference to standards adopted by the board." Keeping in mind she's not in
Kansas anymore. (KS Stat 1-316(e)(2012)) ,

Additionally, under KS Stat 1-321. Definitions - it defines "Report" as follows: ,
“When used with reference to any attest or compilation service, means an opinion, report or other form of language that states
or implies assurance as to the reliability of the attested information or compiled financial statements and that also includes or is
accompanied by any statement or implication that the person or firm issuing it has special knowledge or competence in
accounting or auditing. Such as statement or implication of special knowledge or competence may arise from use, by the issuer .
of the report, of names or titles indicating that the person or firm is an accountant or auditor or from the language of the report .
itself. The term report includes any from of language which disclaims an opinion when such form of language is conventionally
understood to imply any positive assurance as to the reliability of the attested information or compiled financial statements

‘referred to or special competence on
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the part of the person or firm issuing such language: and it includes any other form of language that is conventionally
understood to imply such assurance or such special knowledge or competence"

RELEVENCE TO THIS CASE:

As the affidavits in support of search warrants prepared by Special Agent Funk were provided to the court through the use of
telephonic equipment the requirements under the federal rules of criminal procedure apply. Under section 4.1(b)(2)(A) requires.
the affiant must attest to information contained in the written affidavit. Which has occurred in this case, as such the

requirements under the rules of public accountancy that requires ONLY A CERTIFIED PUBLIC ACCOUNTANT CAN ATTEST
TO BEFORE THE JUDGE MAGISTRATES, IN THIS CASE WAS CLEARLY PERJURY!

As special agent Funk KNOWINGLY PROVIDED FALSE TESTIMONY UNDER OATH!

In law, an attestation is a declaration by a witness that a legal document was properly signed in the presence of the witness.
Essentially, it confirms that a document is valid. in finance an attestation service is a Certified Public Accountants declaration
that the numbers are accurate and reliable. As the service is completed by an independent party, it validates or invalidates in
this case the financial information prepared by internal accountants.

Title 41 Search and Seizure (1) Obtaining a warrant (2) the applicant must orally state facts sufficient to satisfy the probable
cause requirement for the issuance of the search warrant. (See subdivision (c)(1). This information may come from either the
applicant federal law enforcement officer or the attorney for the government or a witness willing to make an oral statement. The
oral testimony must be recorded at this time so that he transcribed affidavit will provide an adequate basis for determining the
sufficiency of the evidence if that issue should later arise. See Kipperman Inaccurate Search Warrant Affidavits as a Ground for
Suppressing Evidence, 84 Avalere.825 (1971).

Testimony provided in the form of opinion must be grounded in an accepted body of learning or experience in that particular
field, and the witness must explain how the conclusion is so grounded. See e.g., American College of Trial Lawyers, Standards
and Procedures for Determining the Admissibility of Expert Testimony after Daubert, 157 F.R.D. 571,579 (1994) ("Whither the
testimony concerns economic principals, accounting standards, property valuation or other non scientific subjects, it should be
evaluated by reference to the "KNOWLEDGE AND EXPERIENCE" of that particular field").

As Special Agent Funk attested before the courts in three swom affidavits which she testified under oath were truthful. That
means she represented herself as a Certified Public Accountant. This means she was an expert capable of performing the
services of the financial investigation of the publicly traded company and the transactions regarding money involved with that
company. This she confirmed with the implied insurances of her knowledge, training and experience a total of 47 times in these
affidavits. As the courts relied on this information as evidence to support probable cause of her claims, the fact that this was
perjury means it was material to this case and required disclosure to the defendant prior to entering into the plea agreement.

SHOWING PATTERN OF MISCONDUCT

This is not the only incidence of misconduct by Special Agent Funk that was unlawful, as on October 13, 2009, Special Agent
Funk aka Kate Egan married then United States Assistant Lead Prosecutor for the United States Department of Justice, AUSA
T Markus Funk. As such when Special Agent Kate Funk, decided to accept a position of employment with the FBI while her
husband the esteemed Mr. Funk was still employed by the DOJ (while still using her maiden name). As such by Special Agent
Funk accepting the position with the FBI, she violated federal regulations and code in doing such.

After which Special Agent Kate Funk accepted employment within the FBI, in violation of the following federal regulations:

(a) 5 U.S. Code (USC) 3110, Employment of Relatives; Restrictions

(b) 5 Code of Federal Regulations (CFR) 310, Employment of Relatives

(c) 5 CFR 2635, Standards of Ethical Conduct for Employees of the Executive Branch, Subparts D, E, G,

(d) 5 USC 2302, Prohibited Personnel Practices

(e) Executive Order 11222, Prescribing Standards of Ethical Conduct for Government Officers and Employees, May 8, 1965
(f) 5 CFR 735, Employee Responsibilities and Conduct

This situation extends beyond just a minor violation of federal regulation by an employee holding a position of trust within the !
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government. This matter involves numerous violations of federal regulation by two executive level employees within the
Department of Justice who swore to uphold and defend the Constitution of the United States and are responsible for national
security. As such this makes the fact that they were willing to violate the laws in order for one of them to obtain a position
enforcing the law, suspect. Clearly this relates to the credibility of this government agent and the integrity of this investigation
and the fact that Special Agent Kate Funk was the sole source of evidence provided to the court makes this discovery material
and exculpatory in this case.

GOVERNMENT AWARE OF MISCONDUCT

Special Agent Kate Funk was required to obtain and pass a mandatory 10 year background investigation in order to obtain the
top secret security clearance required of all FB! Special Agents. This information was readily available to the Department of
Justice, FBI and SEC, all of which were actively involved in the investigation and prosecution of this case, as such this
information regarding the violations of federal regulation that were involved in the hiring of Special Agent Kate Funk.

The fact Special Agent Funk had no law enforcement experience prior to working for the FBI and she had never been involved
in a white collar securities fraud investigation prior to her assignment as lead investigator in this case, as such there is nothing
to support the fact that Special Agent Funk is an expert in these proceedings. As is show in the court decision in the 5th circuit
where the decision of that court was, "The government used an FDIC investigator as an expert in the area of mortgage fraud.
Though the agent had some training in fraud investigation, he had no specialized training in the area of mortgage fraud and had
never previously testified as an expert in this field." United States v. Cooks, 589 F.3d 173 (5th Cir. 2009) AUSA Jeremy Siebert
also attests to the fact that Special Agent Funk is not an expert in his response to Mr. Sears’ motion to withdraw his plea.

As this entire case is filled with perjury, fraud and falsified documents provided by Special Agent Funk as to the inadmissible
hearsay statements provided by the confidential witness which she knew was not only unreliable but were false to form the
legal basis for her investigation. The fact that she based the opinions she provided to the courts as evidence in this case,
makes this information exculpatory in nature and as such it should have been disclosed. The facts upon which a witness relies
for her opinion is discoverable and must be disclosed to the other party. See Dickinson-Tidewater, Inc. v Supervisor of
Assessments, 273 Md. 245 (Md. 1974). The trier of fact should be disregarded if it is found to be unreasonable or not -
adequately supplied by thé facts upon which the opinion is based. Clark v State ex rel. Wyoming Workers’ Safety &
Compensation Div. (In re Clark), 934 P.2d 1269 (Wyo. 1997).

As the court relied on evidence in the form of the inadmissible hearsay and the opinions held by Special Agent Funk which were
derived from such this qualifies as expert testimony in this case and as Special Agent Funk is not an expert this violates the
federal rules of evidence 701 and 702-705. As Special Agent Funk was allowed to testify before the court supplying opinions
that were not based on first hand observation into, the matters claimed by Special Agent Funk, the court must take into
consideration any Sixth Amendment Confrontation Clause concerns whenever the prosecution intends to call an expert to offer
his or her opinion. "Though' an expert may generally rely on inadmissible evidence in reaching a conclusion, including hearsay,
that rule assumes that an expert will carefully analyze the basis of his opinion..." Howard v Walker, 406 F.3d 114 (2d Cir. 2005)

WHISTLEBLOWER PROVEN UNRELIABLE

So, the fact that Special Agent Funk's entire investigation was based on the securities fraud investigation which was based on
the false statements provided by the confidential witness, where he claims that FusionPharm was a Ponzi scheme, as is show
in Special Agent Funk's affidavit, in paragraph 8 pages 2 and 3, Funk states:

"The genesis of the SEC's investigation involved a complaint filed by Cooperating Witness 1 (hereinafter referred to as "CW-1"),
a former FusionPharm employee. In the complain, CW-1 suspected that FusionPharm was operating as a "Ponzi" investment
fraud. Although FusionPharm publicly claimed via press releases and quarterly and annual disclosures to develop, produce and
sell refurbished shipping containers called "Pharm Pods" to cannabis and organic produce grow operations, CW-1 states that
the company had not made any legitimate product sales during his time with the company."

Then in Special Agent Funk's own investigation, it was proven this information was false, in footnote 8 on page 28, whereby
Funk states:

"As noted in, 18 CW-1 originally complained that FusionPharm had not made any sales during his time with the company. CW-1
has revised that statement as highlighted in her affidavit.

To further support this claim the following is provided from Special Agent Funks affidavit whereby in paragraph 58 on page 28,
Funk states:
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"CW-1-identified as most two possible sales between January - October 2013: (a) FusionPharm sold two Pharm Pods to a
customer in California", and (b) FusionPharm sold five Pharm Pods to Local Products, a Denver Company." and "CW-1 said
there might have been an additional, single Pharm Pod sale to Mile High Green Cross in 2013, but he could not be sure.

And again where the confidential witness is allowed to provide information and claims that are material to the investigation
without there being any way that information which he has provided can be verified given the discrepancies he has provided
here. Could it be Special Agent Funk simply altering evidence her self to fit within the answers she is looking to discover in
order to fit within her investigation? However, it might be a good thing if Special Agent Funk learns to perform basic math as
2+5+1=8 not 7 as she states the confidential witness has said, in paragraph 59 on page 28, Funk states: "(b) as noted above,
CW-1 could recall, at most, 7 Pharm Pod sales total in 2013"

PROBLEMS WITH WARRANTS

The problems with this investigation are reflected in the Search and Seizure Warrants as well. in the Search and Seizure
Warrants executed in this case both affidavits contain the following charges on its face instead the violations being alleged are
contained in Attachment B, however the violations are not the same as those alleged in the affidavits. The charges not on the
face but on the Attachment B and government exceeded the scope of the warrant as Attachment B. May 15, 2014 and
November 28, 2014. 1

The affidavit in support of search warrant dated May 15, 2014 (aside from the obvious 2 different first pages) and the affidavit
dated November 28, 2014 do not allege a chargeable violation of law has been committed. Both of these documents cite the
following violations were committed: ‘

In the Affidavit date May 15, 2014, violations cited on Page 2 in Paragraph 4 which states: "William Sears ("Sears"), Dittman
brother-in-law, and a founder and control person of FusionPharm for various suspected federal criminal offenses, including wire
fraud, in violation of 18 USC 1343, and securities fraud in violation of 15 USC 78(b) and 78.ff(a) and 17 CFR 240.10b-5"

In the Affidavit dated November 28, 2014, violations cited on Page 1 in Paragraph 4 which states:
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"William Sears ("Sears"), Dittman brother-in-law, and a founder and contro! person of FusionPharm, for various suspected
federal criminal offenses, including wire fraud, in violation of 18 USC 1343, and securities fraud, in violation of 15 USC 78(b)
and 78.ff(a) and 17 CFR 240-10b-5"

The following is a breakdown of the violations cited in the Affidavit in Support of Search Warrant, dated May 15, 2014;

15 U.S.C. 78(b) is a regulatory statement, it contains no essential elements required to support a violation of law having been
committed under this section.

15 U.S.C. 78ff(a) is a penalty assessment which discusses the penalties for violations of the various sections under 15 U.S.C.
78, however it does not actually address the actual violation and the legal elements required to show a violation under this
section instead it requires a valid violation be included on of the numerous violations contained in Section 78 for there to be a
penalty assessed under this section. \

18 U.S.C. 1343 as there was no legally chargeable fraud violation cited there is nothing to establish a fraud violation has been’
committed and without which there is nothing to invoke the protections of the mail fraud statutes and it is well established the
protections of the mail fraud statues do not extend to government regulatory interests. See F.J> Vollmer & Co., 1 F.3d 1511,
1521 (7th Cir. 1993) ("It is well established that the government's regulatory interests are not protected by the mail fraud
statute.)

17 C.F.R. 240.10b-5 is not addressed in the search warrant as such there is no reason to address this here. The Code of
Federal Regulation must be named separately on the Search and Seizure Warrant to be considered a part of the items that are
being Searched and Seized it is not a standalone charge where it can be included automatically and there was nothing
discussed in the affidavit that showed that the company was a Ponzi scheme as was claimed by the CW #1.

The Search and Seizure Warrant executed on the FusionPharm warehouse on May 16, 2014 contained the violations in
Attachment B however those were not the same violations cited in the supporting Affidavit. Attachment B to Search and Seizure
Warrant dated May 16, 2014, states the following: "Title 18, United States Code, Section 1343 (wire fraud) and Title 15 United
States Code, Section 78j(b) and 78.ff(a)"

While the prosecution is likely to claim this was merely a clerical error, this was shown not to be the case, as the search warrant
dated November 28, 2014 contains the same errors as the Attachment B which states the following: "Title 18, United States
Code, Section 1343 (wire fraud) and Title 15 United States Codes, Section 78j(b) and 78jf(a), excluding, however, any items
constituting privileged attorney-client communications"

The affidavits were not attached to the Search and Seizure Warrants despite being referenced. This normally invalidates the
Search and Seizure Warrants and the evidence discovered as the result of these type of warrants is ILLEGALLY OBTAINED.

It is well established under the Colorado Constitution, the facts supporting probably cause must be reduced to a writing and
probably cause must be established within the four corners of the warrant or its supporting affidavit. See the Colorado .
Constitution Article II, 7; United States Constitution IV Amendment and People v. Padilla 183 Colo. 101, 105, 511 P.2d 480,482
(1973).

"In this Circuit, both attachment and incorporation are required for an affidavit to remedy a warrants lack of particularity." See
United States v. Leary, 846 F.2d 592 (10th Cir. 1988) at 603 and United States v. Williamson, 1 F 3d 1134, I! 36 n.1 (10th Cir.

1993)

The Fourth Amendment requires a search warrant to "describe the things to be seized with sufficient particularity to prevent a
general exploratory rummaging in a persons belongings.” United States v. Carey, 172 F.3d 1268, 1272 (10th Cir. 1999).

A warrant runs afoul of the Fourth Amendment when it is broader in scope than justified by the "probable cause established by
the affidavit upon which the warrant issues." United States v Christine, 687 F.2d 749, 753 (3rd Cir. 1982)
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Because the Search and Seizure Warrant authorized the seizure of a very broad array of items in the FusionPharm offices, for
which there was no probably cause and whereby making the search warrant overly broad and as such violated the Fourth
Amendment. The Fourth Amendment prohibits general warrants authorizing "a general exploratory rummaging in a person's
belongings." Coolidge v New Hampshire, 403 U.S. at 467. Evidence seized pursuant to a general warrant must be suppressed.
Lo-Ji Sales, Inc. V New York, 442 U.S. 319 (1979).

A search warrant that provides law enforcement agents free reign to rummage through a defendant's papers at will renders the
warrant overly broad and vague. United States v. Beckett, 321 F.3d 26, 33 (1st Cir. 2003).

The Search and Seizure Warrant and supporting documentation presented to Magistrate Judge Craig B. Shaffer on May 15,
2014 was attested to telephonically by Special Agent Funk which requires a recording of that and the Search and Seizure
Warrant and all supporting documentation be filed with clerk of the court in accordance with the Federal Rules of Criminal
Procedure Rule 41 and Rule 4.1.

As this document was not filed in an emergency situation which is shown by the time and date of the Magistrate Judges
signature being on May 15, 2014 and the time which it was executed on the following day on May 16, 2014, as such this was
not an anticipatory warrant, as such there was no reason why this search warrant was never properly filed.

After reviewing this Search and Seizure warrant it was discovered it was not properly filed as it does not contain the appropriate
seal nor the stamp of the clerk across the top.

NOR was this document ever "SEALED" as was claimed by AUSA Harmon on numerous occasions! 6 Different attorneys will
testify to this. There is no court order on the dockets sealing the Search and Seizure Warrant (or any evidence of one existing)
which was in fact exercised on the FusionPharm warehouses. Due to the invalid Search and Seizure Warrant which was
exercised on the May 16, 2014 raid on FusionPharm which included Special Agent Funk, IRS-CID Agent Loecker and AUSA
Harmon and others from the prosecutors office who all have many years' experience dealing with Search and Seizure Warrants.
They all knew that this warrant was not valid because it was never properly filed. Showing the proper filing and sealing stamps
required on a Search and Seizure Warrant as is shown from co-defendant Jean-Pierre's case. Mr. Sears has called the clerk of
the court and confirmed that the Warrant is not in their possession and could not furnish a certified copy. How can the integrity
of the warrant be guaranteed if it was not registered with the court as per Federal Rules of Criminal Procedure which state:

(f) Executing and Returning the Warrant.

(1) Warrant to Search for and Seize a Person or Property

(A) Noting the Time. The officer executing the warrant must enter on it the exact date and time it was executed.

(B) Inventory. An officer present during the execution of the warrant must prepare and verify an inventory of any property
seized. The officer must do so in the presence of another officer and the person from whom, or from whose premises, the
property was taken. If either one is not present, the officer must prepare and verify the inventory in the presence of at least one
other credible person. In a case involving the seizure of electronic storage media or the seizure or copying of electronically
stored information, the inventory may be limited to describing the physical storage media that were seized or copied. The officer
may retain a copy of the electronically stored information that was seized or copied.

(C) Receipt. The officer executing the warrant must give a copy of the warrant and a receipt for the property taken to the person
from whom, or from whose premises the property was taken or leave a copy of the warrant and receipt at the place where the
officer took the property. For a warrant to use remote access to search electronic storage media and seize or copy electronically
stored information, the officer must make reasonable efforts to serve a copy of the warrant and receipt on the person whose
property was searched or who possessed the information that was seized or copied. Service may be accomplished by any
means, including electronic means, reasonably calculated to reach that person.

(D) RETURN. THE OFFICER EXECUTING THE WARRANT MUST PROMPTLY RETURN IT-TOGETHER WITH A COPY OF
THE INVENTORY-TO THE MAGISTRATE JUDGE DESIGNATED ON THE WARRANT. THE OFFICER MAY DO SO BY
RELIABLE ELECTRONIC MEANS. THE JUDGE MUST, ON REQUEST, GIVE A COPY OF THE INVENTORY TO THE
PERSON FROM WHOM, OR FROM WHOSE PREMISES, THE PROPERTY WAS TAKEN AND TO THE APPLICANT FOR
THE WARRANT.

Once again it was the 15th of March when this was penned. | had yet to receive the governments response to my motion. No
surprise here as this follows suit with the rest of the withholding they seem to need to do.

So with that | have to assume the government will posture as co-conspirators and deploy diversion tactics. | have proved Kate

t
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Funk has successfully been defrauding the FBI, SEC, Federal Courts and Judges. The US tax payer, pays for it all by means of
‘her salary, bonuses, maternity leave, vacation pay, retirement and whatever perks’ that go along with the job. | have yet to put a
calculation to all that ill begotten gain and the penalty amount plus prison time. Seems would be a waste of time as the very
people that are supposed to protect us from these type of sociopathic fraudsters are the very ones defending and trying to
justify the very things they so eagerly prosecute "regular people” for. The only one thing her co-conspirators have left to say is
how was she wrong in her perjured, fraudulent and falsified affidavits.

As previously mentioned, Mr. Dittman underwent a foresnic audit. In addition Mr Dittmans and his CFO Craig Dudley (another
certified public accountant to whom has worked for publicly traded fortune 500 companies) restatement of the financials
numbers were to the penny. | have already evidenced from Craig Dudley's 302 FBI interview that Fred Lehrer said Dittman did
not need to disclose me. So | will detail some of the auditors comments made to the fraudulent and falsified affidavit we were
furnished. Being in prison, | have no access to my hard drives otherwise this would be much more complete. Please note that
when Ken Harmon heard of the forensic audit being conducted, he quickly started using testimony he knew to be false against
me. He withheld the documented proof of such. He then abandoned the money laundering, Ponzi, financial fraud story as that
all it proved to be. A story!

| will go by section number of her fraudulent affidavit. Exhibit - KFAFBS

First and most importantly is to remember that nothing can be right regardless of what she has said. It is a product of fraud and
fraudulent in fact itselfl

r

lf there was anything true in fact the prosecution would not have lied to my attorneys saying it was sealed. They would have
registered it as Federal Rules require along with the inventory sheet of what they seized. They have no legal way to show or
prove any of the documentation they so completely state as fact is indeed authentic!

THEY DESTROYED THE EVIDENCE AND FABRICATED ANOTHER TO SUITE THEIR NEEDS SO THE CO-CONSPIRATOR
SHOE FITS.

NO ONE TO WHOM IS "RIGHT" DESTROYS OR HIDES THE VERY THING THAT SHOW THEM TO BE!
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PLEA AGREEMENT

The Government comes across as if no one is aware of the recent and rampant plague of prosecutors such as Ken Harmon
and Jeremy Sibert. To whom are willing to hide favorable evidence and employ all ethically and frankly in this case illegal and
criminal tactics to force a plea. | am one of the many as Judge Rakoff described in the case of Michael Flynn in saying "like so
many General Flynn felt compelled to take the plea deal offered to him." The alternative to which as also in my case would have
been the better part of my years left on this planet in prison. Also watch my 71 year old mother be prosecuted along with my
wife. Have the IRS take my mothers house as was told to her. My entire extended family suffer complete financial ruin. My
nephews to whom were 11 and 12 not see their father for decades as Mr. Harmon promised.

My co-defendant Scott Dittman and | as email traffic will show and testimony if permitted that we were NOT PERMITTED TO
ACT INDEPENDENTLY! We either both took the deal or both go to trial.

This was before | discovered all of the fraud, falsified documents and deliberate withholding of evidence favorable to me and
then to have perjured testimony that was knowingly used against me. As | stated that "I discovered" my then lawyers were so
ineffective during these crucial aspects they never asked for or questioned any of the "facts" that the government was
attempting to hid their lies as. The most basic due diligence on their part would have absolutely changed this entire case. A plea
would have never been an option to even consider.

‘ The Supreme Court says that :The knowingly use of purjered testimony violates the due process of law guaranteed by the 14th
amendment. | will show and prove that this is exactly what the prosecution did as it was their only way to get a criminal
conviction by plea agreement.

My plea agreement was permeated by the systematic concealment of significant evidence all favorable to my innocence of
conspiring to defraud the United States. This evidence as | will show consisted of MATERIAL MISREPRESENTATION, FRAUD,
PERJURED TESTIMONY and FRAUDULENT AND FALSIFIED DOCUMENTS. All of which were not made available or
discovered until after an agreement was executed.

The government at that time made false representations of evidence they possessed. They did this to manipulate my lawyers.
My then lawyers took the false statements as fact. The government used terms as “sealed” to not show their purgered and
fraudulent documentation. Again the simplest of research as | did with no resources exposed all the governments lies. My
lawyer did not even look to the docket to even see if there was a sealed document. They just took the word of the prosecutor
and the Special Agent that has a very famous and influential husband. My then lawyers even joked once in saying that "there is
no one in the Denver DOJ that does not have a conflict of interest with T Markus Funk." | did not know at that time what | was
really dealing with.

The prosecutions withheld amongst other things:

1. Perjured testimony from Fred Lehrer to the SEC

2. Perjured and falsified affidavits from Agent Funk

3. FBI 302 interviews that only became available to me through and unknown source some 7 months ago.

Just as in his SEC interviews, Fred Lehrer commits multiple perjuries. Interviews to be hidden for 5 years and 7 months? One
has to ask why? Even more so as did my then attorneys really think the FBI never interviewed the gate keeper for securities to
be traded or not? The government needed to hide this as they knew then as they have always known Fred Lehrer purgered
himself about the very things the government used against me to force a plea deal. The very things he said "he did not know" o

"| lied to him" are the very things he knew about and | was truthful about. Ken Harmon knew this as has known and knows Fred

Lehrer all to well.

The prosecution then used testimony they knew to be perjured and false as leverage to influence my then attorneys to pressure
me into signing a deal. My attorneys knew | had no money for trial and were looking to move on.

Facts are if Fred Lehrer's perjured testimony was shown to me as its material and exculpatory, | could have proven to the
government that | disclosed and acted as Mr. Lehrer knew of and advised to. Thus, this being a civil matter for the SEC to
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handle.

The Supreme Court Noted:
We now hold that the suppression by the prosecution of evidence favorable to the accused upon request violates due process
where the evidence is material by guilt or punishment irrespective of the good or bad faith of the prosecution.

The Supreme Court also notes:
The prosecutorial obligation has come to include disclosure for example of any evidence that might tend to show the
defendants innocents or even reduce his degree of blame worthiness.

It's obvious the prosecution in this case do not feel they must abide by the Supreme court.

Thére is much email traffic and testimony to show there was no conspiracy to hide my involvement with FusionPharm. Facts
are it was discussed regularly and at great length. These conversations were both done independently and combined. This was
as Fred Lehrer directed. He had intimate knowledge of my business and personal life as | had of his. Facts are at the time of
the raid Mr. Lehrer and | were putting together a real estate company that he was to be the CEO of. Email traffic will show this
to be true. He wanted his friends, James Payner, Richard Scholtz and Myron Thayden to be part of it. | do believe the FBI has
photos of this meeting in April of 2014. They sat in a jeep taking pictures and drove off when | walked to the jeep.

If securities laws were broken, it was because Fred Lehrer said they were not. If | violated affiliate status it was because Fred
Lehrer said | was not. Email traffic proved Fred Lehrer had full and complete knowledge of the convertible notes. He knew when
and how they were funded along with the creator Guy Jean Pierre. He knew Jean Pierre so well he reported him for fraud in
2011 in a sworn affidavit. Mr. Lehrer never mentioned this fact to me. Fred Lehrer was relentless and as email traffic will show
about securing a deal with FusionPharm. Emails like "Scott is not calling me back can you call him for me" There are too many
of these type to include here.

The question | have asked too many times to count is: Why did not Fred Lehrer say "STOP EVERYTHING" as soon he saw
Guy Jean Pierre was involved? He could have then phoned the SEC and explained the situation at this point there would have
been only civil issues, not criminal! Seems Mr. Lehrer has a history of this behavior as evidenced in:

The Convertible Notes ,

Fred:Lehrer had intimate knowledge of the convertible notes. That was the main reason for me meeting him in Orlando of
August of 2013. | knew he was an Ex Sec Prosecutor. Who better to protect me (So | thought).

We reviewed the genesis of and the current status. He requested bank statement copies from my companies and
FusionPharms to evidence the authenticity of the funds and dates transferred. The money was real as was the notes! The
prosecution uses terms as backdating and bogus as "BUZZ WORDS". That's in a case where either no money was paid or an
earlier date is evidenced on the face of the note as opposed to the company actually receiving said funds. The date evidenced
on the face of the note "WAS" the date as to when the money was received. Fred Lehrer knew the money that was given as a
loan was from stock sale proceeds. Mr. Lehrer made it very clear the money could only be used to buy company products. |
bought "PODS" from the company. Now even the SEC in my plea agreement footnotes state "Round Tripping" as they call it "Is
not necessarily illegal” caveat being as long as it was used to purchase the companies products.

So the note was real with real money. The date of the first ttanche of money was the date on the notes. There were revisions to
this note so it did change. An example is as the company started to take off | agreed to a higher strike price. Where the lawyers
at that time were mistaken according to the government is we re-executed or memorialized the agreement later than the date
on the note. The lawyers at that time advised us all that the 144 clock starts ticking when money is received. So we resigned
using the date on the face of the note. Once again the money was received on the date evidenced on the face of the note.

Now to dive into this as a securities forensic specialist did, will show that 10+ million of the 12 million was not a 144 time
violation. Hence the prosecutions use and abuse of Fred Lehrer's perjured testimony along with the withholding of such.

If the prosecution had not hidden and withheld perjured testimony against me and to manipulate my lawyers, this would have +
been an ordeal for the SEC to sort out. Not the fabricated, falsified, perjury filled fraud that government sold to the courts.

Once again this would have been a civil 144 time restriction discrepancy. The bulk of the money made was in the 1st quarter

2014. Two full years after the date the "government" says is the effective date. This is why they needed to use perjured
testimony and fraudulent and falsified documents from both Kate Funk and Fred Lehrer. They needed to withhold a lie about

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them. They undermined and corrupted this entire case.

My counsel at that time was so ineffective that they come to me saying "Kate Funk is a CPA, she's gone through the books and
they are all wrong." "Fred Lehrer is saying you lied to him, who is going to believe you?" "This is a paper case, by the second
day the jury is asleep.” "Ken Harmon will hit you with a 120 to 150 count indictment. Jurors wont event understand something
this complex" "You have to take a deal, if you don't want to spend the next 20 years in prison’ They said all this without seeing
one bit of the authentication documentation to back the prosecutions claims. | then reminded them of late May of 2014. Two
weeks after the raid, my lawyers and Mr. Dittmans lawyers met with the DOJ, SEC, IRS, Post Office, ete. etc. The result of that
meeting was my then lawyers calling me to tell me that "the government knows you never sold a can as they put it.” "You need
to just admit it and beg for mercy from the court." Witness testimony and William Taylors letter to Ken Harmon dated June 20,
2014 proves this also to be true. At the very onset my lawyers were just to ineffective they took Ken Harmon and Kate Funk's
word. They were so willing to just let the prosecution use at that time perjured testimony and fraudulent and falsified
documentation that was supposedly "SEALED". One would think after | proved that over 65 unites were sold, they would be
less likely to just take the prosecutions word. Simply put, NO.

This was a prosecutor that was knowingly and willingly using perjured testimony to cause stress & duress to force a plea deal.
Not to only force a plea but to cover up a bungled investigation that exposed a 12 year old organized scheme to defraud.

In the past as | am sure they did in their most recent response, the government will make comments of "This already being
settled" or the court had heard all of this.

Frankly one can only make decisions on things based on the information given. Due to the fact none of my attorneys detailed
this as | have and the prosecution had done nothing but defraud the court by selling a bogus story that my lawyers never
challenged.

Why would the court'not think the way it did? Its all to hard to believe this type of conduct happens in the DOJ or the FBI. As the
news show us this happens more than anyone would like to believe.

Facts are the plea agreement (with stipulated facts) was nothing more than the product of gross incompetence & perjured
testimony the government knew to be false, fraud and the withholding of material and exculpatory evidence. All of which should
have been revealed as law requires instead of being hidden and used against me. Without deploying all these criminal tactics
the government would have never gotten me to sign. These tactics or tools caused stress, duress and they were able to coarse
a deal.

These tools or acts the government readily prosecute "regular people" or citizens on a daily basis for.

ANY CONTRACT THAT MATERIAL MISREPRESENTATION, PERJURY, FRAUD, OR THE WITHHOLDING OF MATERIAL
FACTS ARE USED TO INDUCE THE SIGNING OF IS NULL AND VOID!

The Prosecution at that time CLEARLY used "ALL" of the above!
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| testified at the trial for Guy Jean Pierre as required. | knew that Mr. Siebert was expecting to have me lie for him. | did NOT!
Nor did Scott Dittman, nor did Guy Jean Pierre. When | stated "I never knowingly and willfully set out to defraud the
government." Mr. Siebert came unglued! My truthful testimony resulted in me getting no cooperation credit even though |
brought a wanted fugitive back to the United States. Also Mr. Siebert the AUSA opens his statement with at my sentencing
"William Sears is a liar your honor" "Fred Lehrer gave good advice." He used then at my sentencing as Ken Harmon used prior
to cause duress and coerce a plea deal, testimony they know to be false and perjured and the product of fraudulent and
falsified documentation that was all withheld. Some of which was still being withheld at that very time. (Ex Lehrer 302s)

All this happened to me with lawyers no where to be found. My new court appointed attorney was befuddled to say the least as
testimony shows. .

~ Remember winding back to when | discovered that | was lucky enough to be the one to uncover Kate Funks 12 year old and
ongoing organized scheme to defraud. Along with Fred Lehrers perjury and how Ken Harmon and he were friends that worked
together very closely for the DOJ. They stated "WE NOW HAVE A CONFLICT OF INTEREST" then promptly resigned.

How can anyone say that ineffective assistance of counsel does not apply here?

The government knows all too well if this goes into a courtroom as it should have some 7 years ago, the ex prosecutor, the
agent in charge and my securities lawyer Fred Lehrer will all have to testify. They will all either purjur themselves then or | will
prove they perjured themselves prior. Either way this is a loss. The result will be the convictions being set aside and my,
freedom and illegally seized funds returned. :

| am sure of that today as | am sure | would have been of the same thoughts some 7 years ago. If only then | was not the victim
of the blatant and obvious corruption in this case. The government has no winnable case here. Their entire case is built on
falsified documents, fraud, withholding of exculpatory evidence and using perjured testimony they know to be'so against me.

To think my then attorneys never pressed the prosecution for Fred Lehrers 302 interviews. As if the securities lawyer to whom
advised, opined and let what the government describes as a 12 million dollar fraud happen? The only person to who could have
lifted restrictive legends or opine on affiliate status?

What competent and effective counsel lets their client enter into a plea deal without verifying these and other claims that the
government state as fact? Only an ineffective and one that just wants out would.

So the prosecution has lied about warrants and affidavits being sealed. They have falsified evidence and withheld exculpatory-
evidence all favorable to me. They were really just making things up at that point. Why not, as my lawyers are buying into the
bogus bag of goods they are selling. Bogus goods to include but not limited to the affidavits and search warrants being under
seal. Search warrants and affidavits that run so afoul they dared not to register them with the courts as required. They have
withheld the SEC testimony of my securities lawyer. Testimony they know to be perjured as why else hide them. They withheld
Fred Lehrers FBI 302s never to be seen before October of 2020, that's 5 years and 7 months after they happened. They then
use agent Funks perjured, fraudulent and falsified and fabricated affidavits. Once again so flawed they never register them with
the courts. Really why would they as they can make things up as they clearly did in this case. I'm speaking to the falsified and
fraudulent "2" different first pages of her affidavit for the same premises for the same day. Oh what a web she weaves along
with withheld and perjured testimony to create a bogus hill of goods to my lawyers. In turn they look to me as there is no hope
but to sign a deal. "Do you really think your the first person to get steam rolled by the Government" is what they say to me.

| have yet to see the governments response as stated but how would having all this that | have shown and laid out NOT
CHANGE A PROCEEDING IN MY FAVOR? How is this not a miscarriage of justice? How was any of this knowingly and
willingly on my behalf?

This entire case was and is a product of fraud. One started 12 plus years ago in an organized scheme to defraud the FBI, DOJ,
SEC, Federal courts and the American tax payer.

Quite frankly this all happened and is still happening. The truth is if Kate Funk did not commit this fraud on the FBI some 12
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years ago. The very one she committed in Judge Schaffers court room in May of 2014 (THE VERY ONE SHE'COMMITS .
TODAY WITH THE DOJ'S APPROVAL APPARENTLY) Maybe if someone looked past the fact that she was T Markus Funks
wife, she would have never gotten this far. (

Then maybe a competent, licensed, accredited investigator with real training and expertise to investigate complex securities
related matter would have been assigned not someone to to whom lied to get the job in the first place. Not someone to whom
only had 4 years with the FBI to include academy training and maternity leave in between. Maternity leave for twins.

So the question beggs: What real training or experience could this non licensed, non accounting degreed, fake credentialed
fraudster really possess? Definitely not enough to say 47 times in a fraudulent affidavit through "My knowledge, training and
experience.”

How my then lawyers never caught on to one of the things | have detailed | will never know, they just never tried to. As you can
clearly see there is not just one issue here, there are so many things wrong here its mind boggling.

Again how does knowing and having all this information and proof of governmental wrong doing prior to signing an agreement
not change the outcome of events? Without all their wrong doings they could have never gained a conviction.

Wittness testimony and email traffic will prove that my testimony on my change of plea was a product of Ken Harmons creation.
| vividly remember the day | was in my attorneys office when he called Harmon to ask "How does Martinez like his guys to plea"
Ken then went on about taking full responsibility and such he then went to tell a story of a woman in a tax case that did not take
full responsibility and got the maximum sentence. Email traffic will show that my change of plea testimony was scripted.

When | did not say exactly what was scripted or as Ken Harmon said immediately after in a conference room "you did not do
what | told you to” "That's not what you were supposed to say" He did not like how | described the notes of the fact | said on
advice of counsel. In that same meeting is when he threatened me about speaking to Brenda Hamilton. He also threatened me
to stop all the "Non Sense” about Fred Lehrer. "He'll deal with Fred" | asked why now? He then ranted on how | was not
cooperating properly and such. | asked again why not now? My lawyer at that time intervened and quickly changed the subject.
There were more witnesses to that exchange and email traffic referencing it in detail.

Prosecutorial Misconduct (1963) is defined as:
A prosecutors improper or illegal act (or failure to act) ESP - involving an attempt to avoid required disclosures or assess an
unjustified punishment.

The facts are that this entire case started with fraud and perjury by agent Funk. The warrants and affidavits are illegal. So much

so they had to change them. This | show in the exhibits. A simple Franks hearing would have then ended this ongoing

nightmare as "Fruit of the poisionous tree" would follow. The government knew this and lied to say they were "Sealed". Six
attorneys will testify to this. A simple call to the court as | did will prove they don't exist. If only my then attorneys would have

made that call. )

From that point the government started causing a plea agreement negotiation to be "permeated by the systematic concealment
of material and exculpatory evidence favorable to me." Evidence they knew to be perjured. They hid it and used its supposed
context to manipulate my then lawyers into coercing me to sign a deal. The very testimony that clearly shows that all the facts
the government has claimed are a product of perjury. They knew my securities lawyer was lying and they needed him to.
Otherwise this is a civil proceeding and not the Ponzi, drug money fraud they sold to the courts. They needed it to be the
undisclosed insider hiding in the shadows story. The very claims Fred Lehrer made about not knowing or | lied to him about are
the very things | was truthful about and he had full knowledge about. This is Clearly shown in both his SEC testimony and his
hidden FBI 302s. The SEC and the US Attorney were informed of Mr Lehreres perjury. (See Exhibits) There was no
investigation just the steam rolling of myself and Mr Dittman. Mr. Lehrer has a history of this conduct as | can prove. Both before
me and after, this the prosecution knows all to well! ,
A prosecutors intentional suppression, withholding of evidence they know to be perjured like Fred Lehrer's or the product of

both fraud and perjury as in the case of agent Funk is a tantamount to obstruction of justice. This amounts to nothing but
subordination of perjury and fraud.

These are felony offenses that prosecutors readily prosecute other people.

Why are people within the government protected from acts of dishonesty and criminal behavior? Any criminal behavior such as
Kate Funk's perjury and fraud along with Fred Lehrer's numbers perjuries should warrant immediate investigation. This should
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include as in Mr. Harmon and Mr. Sieberts case lack of candor to a court or justice dept. The double standard here is as blatant
as it is disturbing.

Let us not forget this entire mess was created and caused by a 12 year old and ongoing scheme to defraud. A crime was
committed to investigate an alleged on. The investigation is a product of gross incompetence to include perjured and falsified
affidavits. Which then left the prosecution to have to lie, withhold exculpatory evidence then use testimony they knew to be false
against me. They used it to coerce a plea then again at my sentencing to get a maximum sentence. This was all calculated and
malicious to cause stress, duress and physical and emotional exhaustion on me and my family.

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They did all this without my then attomeys asking for the proof of their claims. Never doing the most basic of background
investigation as | have.

Every single claim of fraud fabrication of and perjured testimony was discovered by myself after | was coerced into signing a
plea agreement.

| pray the court has read the entirety of this filing and deems fit to set the conviction aside or at least grant an evidentiary to
cement these facts as they clearly as such are the facts.

The court is only now hearing the truth and the facts as they are. Only then can one judge what is just.

Respectfully

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William Sears

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